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12
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13

14   UNITED STATES OF AMERICA,                        )   CASE NO. 18CR0259-BLF
                                                      )
15           Plaintiff,                               )   UNITED STATES’ TRIAL MEMORANDUM
                                                      )
16      v.                                            )   Hearing Date: December 20, 2019
                                                      )   Hearing Time: 9:00 a.m.
17   KATHERINE MOGAL,                                 )   Trial Date: January 21, 2019
                                                      )   Courtroom: 3
18           Defendant.                               )
                                                      )   Hon. Beth Labson Freeman
19

20           The United States of America (“United States”) hereby respectfully submits the following Trial
21 Memorandum, pursuant to the Court’s Standing Order Re: Criminal Trials, Sec. VIII. Defendant

22 Katherine Mogal is charged in the Indictment with six counts of possession of stolen trade secrets in

23 violation of 18 U.S.C. § 1832(a)(3) (Counts 1, 2, 10, 11, 12, & 13). Trial on all Counts against this

24 individual defendant is currently set for jury selection on January 21, 2020, with a pretrial conference

25 scheduled for December 20, 2019 at 9:00 a.m.

26 I.        Statement of the Case
27           A.      Summary of the Evidence
28           The United States anticipates that the admissible evidence at trial will demonstrate the following:

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 1 Founded in 1999, AliphCom, Inc. DBA Jawbone, (“Jawbone”) was, during the relevant time period, a

 2 world leader in consumer technology and wearable devices, having invented and popularized both

 3 Bluetooth headsets, wireless speaker technology, and the first wrist-worn tracking device, with a focus

 4 on building devices and developing software platforms utilizing data science and extensive market

 5 research. In particular, Jawbone developed and implemented a unique model for product development

 6 (for the time) which it viewed as critical to its success: in depth, directed, and comprehensive consumer

 7 research to determine what it was that consumers would most like to see, best respond to, and use

 8 consistently in personal and/or wearable technology. Because it placed such an emphasis on this

 9 pathway to developing the next “big thing” in consumer technology, Jawbone devoted substantial
10 resources (in time and money) to this consumer research effort – far in excess of what any of their direct

11 competitors was doing at the time. Moreover, the consumer research team was cohesively joined with

12 all other aspects of Jawbone’s operations, demonstrating its importance to the company.

13          In its role as an “innovator,” Jawbone went to great lengths to tightly control access to

14 confidential information, protecting documents, designs, and business information in whatever form,

15 from being distributed or disclosed to the public or competitors. To this end, Jawbone required that each

16 of its employees, vendors, manufacturers, and other business partners who might come into contact with

17 confidential Jawbone information, to review and sign confidentiality and/or non-disclosure agreements

18 prior to gaining access to such information. Specifically, employees were made to sign the Confidential

19 Information and Inventions Assignment Agreement which states, in relevant part:

20                  [A]t all times during my employment and after my employment ends for
                    any reason . . . ., I will hold in strictest confidence, and not use, except for
21                  the benefit of the Company, or disclose to any person, firm, or corporation
                    without written authorization of the Chief Executive Officer of the
22                  Company (“CEO”), any Confidential Information of the Company. I
                    understand that “Confidential Information” means any and all Company
23                  confidential information, proprietary information, technical data, trade
                    secrets or knowhow, including, but not limited to, information related to
24                  research, product plans, products, services, customers, customer lists, and
                    other customer data (including, but not limited to, information concerning
25                  customers on whom I called or with whom I became acquainted during my
                    employment), markets, software, developments, inventions, processes,
26                  formulas, technology, designs, drawings, engineering, hardware
                    configuration information, marketing, finances, personnel, business plans,
27                  strategic plans, or other business information disclosed to me by the
                    Company, either directly or indirectly in writing, orally, or by drawings or
28                  observation of parts or equipment, or developed by me, solely or jointly
                    with others.
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 1 See Confidentiality Agreement at 1.

 2          Jawbone also had a comprehensive information technology policy which required employees to

 3 refrain from accessing or copying any confidential information onto personal devices, directing

 4 employees that “[a]ll work-related activities should be performed on Jawbone-provided computers,” to

 5 refrain from “us[ing] personally-owned computers for work purposes,” and to “never” send sensitive

 6 information “in emails other than between @jawbone.com addresses.” Further, employees who were

 7 leaving the company were reminded of their continuing obligation to preserve the confidentiality of

 8 Jawbone’s proprietary information and trade secrets, and, for further emphasis, were required to sign an

 9 Acknowledgement of Proprietary Information, identifying many specific categories of this information
10 that must remain confidential. Expressly included on that list, and relevant to the instant case, were

11      •   Research and development activities, methods, procedures, plans, and strategies;
12      •   Sales and marketing information, including pricing information, customer lists, contacts, habits,
13          sales techniques, plans and surveys.

14          The defendant was formerly the “Director of Market and Customer Experience Insights” at

15 Jawbone. Upon her departure from Jawbone on March 17, 2015, the defendant allegedly took, among

16 other things, reports containing analysis and information generated by the victim company’s consumer

17 research program. The United States has elected to charge the defendant with the unlawful possession

18 of six separate documents, each of which is alleged to be a compilation trade secret. It is anticipated that

19 the evidence will show, in particular through the testimony of forensic experts and Jawbone personnel,

20 that the defendant maintained one or more unapproved personal repositories of Jawbone documents,

21 including two cloud-based applications (CrashPlan and Dropbox), where she knowingly placed,

22 accessed, and manipulated Jawbone proprietary materials. In addition to the six charged documents, the

23 United States has moved under Federal Rule of Evidence 404(b) to introduce additional evidence at trial,

24 including documents and testimony, that the defendant had in her possession other documents and

25 information beyond the charged documents which demonstrate her intent, plan, knowledge, absence of

26 mistake, or lack of accident. [See U.S. First Motion in Limine, Docket No. 133.]

27          Following her departure from Jawbone, defendant was employed by Fitbit as “Director of UX

28 Research.”

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 1          B.      The Charges

 2                  1.      18 U.S.C. § 1832(a)(3) – Possession of Stolen Trade Secrets

 3          The elements the United States must prove for all six of the charged counts against this

 4 defendant are as follows:

 5                  a)      The defendant knowingly received or possessed a trade secret knowing the same

 6          to have been stolen or appropriated, obtained, or converted without authorization;

 7                  b)      The defendant intended to convert a trade secret to the economic benefit of

 8          anyone other than the owner;

 9                  c)      The information was, in fact, a trade secret;

10                  d)      The defendant intended or knew the offense would injure the owner of the trade

11          secret; and

12                  e)      The trade secret was related to or included in a product that is produced for or

13          placed in interstate or foreign commerce.

14 Further, the statutory definition of “trade secret” is contained in 18 U.S.C. § 1839(3) as follows:

15                  [T]he term “trade secret” means all forms and types of financial, business,
                    scientific, technical, economic, or engineering information, including
16                  patterns, plans, compilations, program devices, formulas, designs,
                    prototypes, methods, techniques, processes, procedures, programs, or
17                  codes, whether tangible or intangible, and whether or how stored,
                    compiled, or memorialized physically, electronically, graphically,
18                  photographically, or in writing, if –
19                  (A) The owner thereof has taken reasonable measures to keep such
                    information secret; and
20
                    (B)The information derives independent economic value, actual or
21                  potential, from not being generally known to and not being readily
                    ascertainable through proper means by, another person who can obtain
22                  economic value from the disclosure or use of the information.
23 In a criminal trade secret case, the United States is not required to make a pretrial offer of proof of the

24 trade secrets. Whether particular information is a trade secret is a question of fact, not law. See Ninth

25 Circuit Model Criminal Jury Instruction 8.141C; United States v. Chung, 659 F.3d 815, 824-25 (9th Cir.

26 2011) (evaluating whether there was sufficient evidence at trial that particular documents were trade

27 secrets under the EEA); United States v. Asgari, 2018 WL 1151562 (N.D. Ohio Mar. 5, 2018) (“The

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 1 existence of a trade secret is a central element to a theft of trade secrets charge. It is not an ancillary

 2 factual issue unconnected to the merits that the Court may decide before trial.”).

 3          A trade secret need not be novel or even non-obvious. See e.g., Kiwanee Oil Co., v. Bicron

 4 Corp., 416 U.S. 470, 476 (1974); Learning Curve Toys Inc. v. Playwood Toys, Inc., 342 F.3d 714, 724

 5 (7th Cir. 2003). Even if the individual elements are in the public domain, a combination of those

 6 elements can be a trade secret if it offers a competitive advantage and is not readily ascertainable. See

 7 e.g., Servo Corp of America v. General Electric Co., 393 F.2d 591 (4th Cir. 1968); 3M v. Pribyl, 259

 8 F.3d 587 (7th Cir. 2001). Of particular note, the Ninth Circuit has held that “a trade secret may consist

 9 of a compilation of data, public sources or a combination of proprietary and public sources. . . . ‘the fact
10 that some or all of the components of the trade secret are well-known does not preclude protection for a

11 secret combination, compilation, or integration of individual elements.” United States v. Nosal, 844

12 F.3d 1024, 1042 (9th Cir. 2016) (quoting RESTATEMENT (THIRD) OF UNFAIR COMPETITION § 39 cmt. f

13 (1995)).

14          Whether an owner took “reasonable measures” to keep the information secret is a factual

15 determination. Security measures need not be absolute or the best available; they need only satisfy the

16 standard of reasonableness under the facts and circumstances of the specific case. See e.g., United States

17 v. Howley, 707 F.3d 575, 579 (6th Cir. 2013). To qualify as a trade secret, the information must also

18 derive independent economic value from not being generally known to someone who can make use of

19 that information. No specific actual value must be proved, only a showing of potential value is required.

20 See United States v. Jin, 733 F.3d 718 (7th Cir. 2013). The United States may demonstrate value

21 through the circumstances of the offense, or the time and money that would need to be spent by a third

22 party to replicate the information. See United States v. Lange, 312 F.3d 263, 269 (7th Cir. 2002).

23          The United States has charged this defendant with the possession of six separate documents,

24 identified by specific description in the indictment in the following counts:

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26

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 1      Count       Date    Jawbone   Name of                 Fuller Description from Indictment, Paragraph 10
                  Defendant  Trade   Document
 2                   left    Secret
                  Jawbone
 3       One      March 17,    A    Audio Now              “Jawbone’s proprietary and confidential
                    2015            Study                  qualitative survey conducted of users of small-
 4                                                         form speaker products, describing the results of
                                                           inquiries into timing and location of small
 5                                                         speakers, threshold of convenience for use of an
                                                           external speaker versus an internal device
 6                                                         speaker, and other factors affecting a user’s
                                                           decision to purchase a speaker. The study, which
 7                                                         had been professionally designed, implemented,
                                                           and summarized at considerable expense, was
 8                                                         part of Jawbone’s overall concentration on and
                                                           investment in research and development, and
 9                                                         contained substantial proprietary and confidential
                                                           information, including but not limited to a
10                                                         roadmap for future steps and product
                                                           development based on the research conclusions.
11                                                         Only authorized team members had access to the
                                                           study, and limitations were placed on the use and
12                                                         copying of the study.” [Indictment, p. 3-4]
13       Two      March 17,         B       Chinese User “Jawbone’s proprietary and confidential multi-
                   2015                     Market Study faceted study of Chinese consumers, providing
14                                                       highly specific information about users’
                                                         motivations, influences, desired features, brand
15                                                       preferences, reasons for purchasing fitness
                                                         trackers, and shopping methodologies. The 53-
16                                                       page document is marked with a legend
                                                         specifying it to be “proprietary and confidential,”
17                                                       and contains a significant volume of information,
                                                         both quantitative and qualitative, about users in
18                                                       one of the world’s most important consumer
                                                         markets. Only authorized team members had
19                                                       access to the study, and limitations were placed
                                                         on the use and copying of the study.”
20                                                       [Indictment, p. 4]
21       Ten      March 17,         J       Daily Diary    “A journal-based qualitative study with 18
                   2015                     Study          participants who used both Jawbone’s UP24
22                                                         electronic fitness tracker and Fitbit wristbands,
                                                           seeking to understand how users interact with
23                                                         wearable devices, assessing users’ needs, goals,
                                                           and perceptions. This comprehensive study of
24                                                         user preferences, particularly in the comparison
                                                           between Jawbone and Fitbit products, was a
25                                                         “Foundational” document for Jawbone.”
                                                           [Indictment, p. 5]
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 1      Count       Date    Jawbone   Name of       Fuller Description from Indictment, Paragraph 10
                  Defendant  Trade   Document
 2                   left    Secret
                  Jawbone
 3     Eleven     March 17,    K    User         “A quantitative study of over 1400 Jawbone
                    2015            Segmentation users inquiring into users’ backgrounds, reasons
 4                                  Study        for purchasing fitness trackers, interest in health
                                                 and fitness, and motivation. Containing the
 5                                               legend “Proprietary and Confidential,” this study
                                                 was the starting point of subsequent efforts by
 6                                               Jawbone to define user personas and archetypes
                                                 to better understand market segmentation to
 7                                               develop and produce for sale more specific,
                                                 targeted products beyond basic unitary features.
 8                                               Information contained in this 73-page document
                                                 served as the basis for much of Jawbone’s
 9                                               product roadmap, and had significant economic
                                                 value to Jawbone.” [Indictment, p. 5-6]
10
       Twelve     March 17,         L       Lifestyle       “ A quantitative study of fitness tracker owners,
11                 2015                     Tracker         inquiring into users’ desired features, shopping
                                            Shopper         research, familiarity with various brands and
12                                          Journal         products, motivation to use a tracker device. This
                                            Study           document contained information on user
13                                                          comparisons between Jawbone and Fitbit.”
                                                            [Indictment, p. 6]
14
       Thirteen   March 17,         M       International “A quantitative study of over 1500 European
15                 2015                     Tracker       Jawbone users inquiring into users’ expectations,
                                            Market Study desired features, reasons for purchasing fitness
16                                                        trackers, and shopping methodology.”
                                                          [Indictment, p. 6]
17

18
            Charging a particular document as the unit of prosecution in trade secret cases has been
19
     recognized and upheld by the Ninth Circuit. See, e.g., United States v. Chung, 659 F.3d 815, 824 (9th
20
     Cir. 2011) (“Of the 300,000 pages of Boeing documents that were found in Defendant’s home, the
21
     government identified six that allegedly contained trade secrets. Each document underlies a separate
22
     EEA count in the indictment.”); United States v. Nosal, 844 F.3d 1024, 1042 (9th Cir. 2016) (three
23
     specific source lists charged are “classic examples of a trade secret that derives from an amalgam of
24
     public and proprietary source data”); Sing, 736 Fed. App’x at 185 (affirming conviction based upon
25
     “five individual schematics”). The parties have stipulated to the file paths on the defendant’s device
26
     where each charged document could be found, as well as the specific elements in each document which
27
     the United States contends, in compilation, qualify the documents as trade secrets. In keeping with its
28

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 1 promised obligation to further specify by November 1, 2019, the United States supplemented the list in

 2 each case with a description of the “methodology” of these studies as the way in which Jawbone

 3 approached what kind of study it would do in order to tailor it to the internal business audience and

 4 purpose of the research, built on a unique-in-the-industry program of user research that had been in

 5 existence and valued at Jawbone for many years as crucial to its innovation business model. [See United

 6 States Response to Defendnat’s Motion to Enforce the Stipulation, at Docket No. 127 and Court’s Order

 7 Granting Defendant Mogal’s Motion to Enforce the Stipulation, dated November 26. 2019.]

 8                          (i)     The defendant knowingly received or possessed a trade secret
                                    knowing it to have been stolen or appropriated, obtained, or
 9                                  converted without authorization

10          The defendant maintained possession of all six of the charged trade secret documents in a

11 “CrashPlan” repository that she personally secured in or about December 2014. CrashPlan is a cloud-

12 based backup service that allows its users to back-up their data on, among other places, hard drives. At

13 the time the defendant purchased this storage, Cameron Bailie, Jawbone’s IT Manager, was unaware

14 that she had installed the program on her work computer. If she had asked for the program or a similar

15 means to back up her data on her work device, he would have installed it for her using an enterprise

16 solution rather than a solo-consumer product. The company only learned about her use of CrashPlan

17 when forensic expert Daniel Garza discovered it while examining her Jawbone work computer. Further

18 forensic examination of the defendant’s CrashPlan by forensic experts at Law & Forensics and

19 government agents revealed that she possessed the six alleged trade secrets along with additional

20 documents that were both identical to and more than a 90 percent match to the charged trade secrets.

21 The defendant also stored documents matching the alleged trade secrets in her personal Dropbox

22 account. The defendant was aware that she was required to return all Jawbone material to the company

23 upon her termination because she had signed a Confidential Information and Invention Assignment

24 Agreement (supra at 2) and a termination certification stated that she “[had] not made or retained copies,

25 reproductions, or summaries of any Company Property, and have returned all Company Property in its

26 present condition without deletion or alternation.”

27          Business record evidence and testimony from percipient witnesses, as well as forensic evidence

28 through noticed experts, will be presented by the United States in its case-in-chief.

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 1                          (ii) The defendant intended to convert a trade secret to the economic
                                 benefit of anyone other than the owner
 2          Knowing of her obligations to keep confidential all Jawbone proprietary materials from

 3 documents she signed when she accepted her position at Jawbone, not share them outside the company

 4 without prior authorization pursuant to various Jawbone written policies, and acknowledgement of her

 5 duty to return all Jawbone material to the company upon her termination or resignation, the defendant

 6 nevertheless maintained a full repository of Jawbone documents outside of the approved channels and

 7 without receiving authorization to do so. Moreover, she used substantial portions of Jawbone

 8 proprietary material from Trade Secret A in one or more presentations that she gave to other companies,

 9 including Fitbit, during her job application process, plainly demonstrating her intent to convert the
10 Jawbone trade secrets to someone else’s economic benefit – even her own. Forensic evidence and

11 testimony will be presented by the United States in its case-in-chief.

12                          (iii)   The information was, in fact, a trade secret

13          In the year or two leading up to the defendant’s resignation from the company in March 2015,

14 Jawbone was steps ahead of the competition in the area of wearable devices, and made substantial

15 efforts to guard their trade secrets through legal means, including by requiring employees to sign the

16 Confidential Information and Invention Assignment Agreement. The company also required employees

17 to watch an information technology security slide show detailing, among other things, the company’s

18 information security policies. Furthermore, Jawbone derived economic value from keeping secret the

19 data and analysis from the user experience and market analysis studies contained in the six alleged trade

20 secrets. The studies gave Jawbone a competitive advantage in the marketplace because, among other

21 things, the studies informed their product strategy and the company roadmap to develop future products

22 and features that were important to consumers. The United States will offer testimony of multiple

23 Jawbone executives as the people most knowledgeable with regard to the reasonable measures,

24 economic value, and company view of the documents.

25
                            (iv)    The defendant intended or knew the offense would injure the owner
26                                  of the trade secret

27          Jawbone invested a significant amount of employee time and resources on the data and analysis

28 derived from the studies contained in the six alleged compilation trade secret documents. This

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 1 information fueled Jawbone’s innovations in the marketplace, and would be extremely valuable to a

 2 competitor because it would provide a competitive edge over Jawbone by use of the data to develop

 3 products responsive to consumers’ needs and feature preferences without expending their own

 4 significant resources to gain the same insights. It would also allow a competitor to make strategic

 5 choices to try and “beat” Jawbone to market on new products and software development. The defendant,

 6 as a key employee in the group that Jawbone relied upon to inform and drive its strategic innovation

 7 decisions, was well aware of the value of the material. Further, the testimony will show that the

 8 defendant knew that Jawbone, locked in competition with Fitbit as it was, would lose one of its only

 9 competitive advantages by the potential revelation of documents Jawbone viewed as foundational to its
10 future development plans.

11
                            (v)     The trade secret was related to or included in a product that is
12                                  produced for or placed in interstate or foreign commerce

13          Jawbone was a leader in consumer technology and wearable devices that were sold worldwide.

14 All of the alleged trade secrets related to products including speakers and fitness trackers, which were

15 either in the domestic and foreign marketplace or were being developed for the market. Indeed, Trade

16 Secret A, entitled “Audio Now” relates to research that Jawbone conducted related to the use of portable

17 speakers, and Trade Secret B, entitled “Getting to Know the Chinese User and Their Shopping Journey”

18 consists of a research study focused on how Chinese consumers shopped for fitness trackers.

19

20 II.      OTHER ISSUES

21          A.      Issues Identified in Prior Filings

22          The parties have each filed various Motions In Limine identifying evidentiary issues that are in

23 dispute, principally revolving around the introduction of forensic evidence, evidence of the preceding

24 civil litigations, and impermissible hearsay or opinion testimony. The government is filing its responses

25 to the defendant’s motions indicating, to the extent possible, where the claimed dispute is unfounded,

26 either because the government does not intend to introduce the evidence the defendant is seeking to

27 exclude or where the government disagrees with the defendant’s basis to exclude.

28          The parties have identified multiple disputes in the jury instructions, most pressing being the

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 1 actual elements of the charged crime. The government respectfully requests that the Court also resolve

 2 this particular dispute prior to the commencement of trial, as the government is entitled to understand

 3 the full scope of its burden of proof prior to the introduction of its evidence in its case-in-chief.

 4          The defendant has also filed a motion to dismiss the indictment, claiming grand jury misconduct.

 5 The United States will respond under separate cover to what it believes to be that wholly unsupported

 6 and unfounded motion on or before December 27, 2019, as ordered by the Court, for hearing on January

 7 16, 2020.

 8          B.      Sealing of Certain Trial Exhibits and Restricted Viewing in Courtroom

 9          The United States requests that the Court enter an Order permitting the parties to place certain

10 exhibits under seal following the trial, as well as to restrict the showing of certain exhibits to the public

11 when the exhibits are published to the jury. To that end, the United States will seek a Trial Protective

12 Order to supplement the existing Stipulated Interim Protective Order, entered by this Court on August 9,

13 2018, which has governed the parties in discovery pre-trial. [See Docket No. 28, p. 2 (stipulating the

14 terms “will govern the designation and handling of material and other information produced by the

15 United States during pretrial negotiations, while reserving the question of how such material and

16 information should be handled at trial, and during pre- or post-trial hearings for a future time”).]

17          While the public has a common law right to inspect and copy judicial records, that right is not

18 absolute. S.E.C. v. Van Waeyenberghe, 990 F.2d. 845, 848 (5th Cir. 1993). “Every court has

19 supervisory power over its own records and files, and access has been denied where court files might

20 have become a vehicle for improper purposes.” Id. (citing Nixon v. Warner Commc’n Inc., 435 U.S. 589,

21 597 (1978).) These powers extend to situations where public disclosure has occurred through the

22 admission of evidence at trial. Nixon, 435 U.S. at 598. Thus, the common law merely establishes a

23 presumption of public access to judicial records, which can give way to other interests in a particular

24 case. Id.

25          District courts have discretion to seal judicial records. Id. In exercising this discretion, “the court

26 must balance the public’s common law right of access against the interests favoring non-disclosure.” Id.

27 In applying this standard to a particular piece of information, courts should “consider the degree to

28 which the subject matter is traditionally considered private rather than public.” United States v. Amodeo,

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 1 71 F.3d 1044, 1051 (2d Cir. 1995). The nature and degree of any injury to the party seeking non-

 2 disclosure should also be weighed. Id. (noting that “[c]ommercial competitors seeking an advantage

 3 over rivals need not be indulged in the name of monitoring the courts”); see also Apple Inc. v. Samsung

 4 Elecs. Co., Ltd., 727 F.3d 1214, 1221 (Fed. Cir. 2013) (“One factor that weighs in favor of sealing

 5 documents is when the release of the documents will cause competitive harm to a business.”).

 6          Under these standards, courts have recognized that judicial documents containing trade secrets

 7 should be sealed. See In re Elec. Arts, Inc., 298 F. App’x 568, 569 (9th Cir. 2008) (district court abused

 8 its discretion in refusing to seal “pricing terms, royalty rates, and guaranteed minimum payment terms”

 9 found in a license agreement because such information “plainly falls within the definition of ‘trade
10 secrets.’”). Courts have reached the same conclusion with respect to a company’s proprietary

11 information and confidential information. See Roundtree v. Chase Bank USA, N.A., No. C13-239-MJP,

12 2013 WL 6729582, at *2 (W.D. Wash. 2013) (sealing portion of summary judgment motion containing

13 proprietary information); Apple, 727 F.3d at 1221 (“Considering the parties’ strong interest in keeping

14 their detailed financial information sealed and the public’s relatively minimal interest in this particular

15 information, we conclude that the district court abused its discretion in ordering the information

16 unsealed.”); Mylan Inc. v. SmithKline Beecham Corp., 723 F.3d 413 415 n.3 (3d Cir. 2013) (“We are

17 satisfied there is good cause to seal these records – i.e., to protect the parties’ confidential proprietary

18 business and competitive interests.”); Nixon, 435 U.S. at 598 (“There is no indication of any improper

19 purpose, and the public would ordinarily not have access to this information in the absence of this

20 litigation.”).

21          The relief that the United States seeks with a trial protective order will be limited. The United

22 States will not seek to close certain portions of the trial or to exclude the public from attending and

23 observing the trial. Rather, the United States will seek to place under seal a limited number of

24 proprietary and confidential Jawbone documents that – while Jawbone as the original owner of these

25 documents is no longer an existing business, and a successor-in-interest to these documents might view

26 them as fungible – they are of even less of interest, if any, to the general public. The sealing of these

27 documents will not impair the public’s ability to scrutinize the trial because the trial proceedings are

28 open to the public, the transcript of the entire proceedings will be publicly available, and many of the

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 1 exhibits will be public as well. At the same time, the documents at issue, in the hands of Jawbone’s

 2 former competitors, customers, and business associates would cause significant competitive harm. As

 3 the Ninth Circuit has observed, “compelling reasons sufficient to outweigh the public’s interest in

 4 disclosure and justify sealing court records exist when such court files might have become a vehicle for

 5 improper purposes.” Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006).

 6          Failing to maintain the confidentiality of victims’ proprietary and financial information in EEA

 7 cases would severely limit the government’s ability to use the assistance of people willing to cooperate

 8 to catch and convict thieves of trade secrets, and thereby undermine the public interest in prosecuting

 9 such criminals. While passing the EEA, Congress recognized the importance of maintaining the
10 confidentiality of trade secrets during litigation involving trade secrets to effective enforcement of the

11 statute. See H.R. Rep. No. 104-788 at 13 (Judiciary Committee) (“The intent of this section is to

12 preserve the confidential nature of the information and, hence, its value. Without such a provision,

13 owners may be reluctant to cooperate in prosecutions for fear of further exposing their trade secrets to

14 the public view, thus further devaluing or even destroying their worth”); see also, S. Rep. 104-359 at 17.

15 Specifically, under Section 1835 of the EEA, Congress mandated the Court to “enter such orders and

16 take such other action as may be necessary and appropriate to preserve the confidentiality of trade

17 secrets.”

18          The United States will confer with the defendant’s counsel to determine if the parties can come

19 to an agreement on a trial protective order that the Court can enter which will designate specific

20 documents to be sealed by the Court upon the conclusion of the matter and protected from public view

21 during publication to the jury.

22

23 III.     CONCLUSION

24          The United States continues to estimate that its case-in-chief (following jury selection) will last

25 approximately five (5) court days. At the Pretrial Conference the undersigned will be prepared to

26 address any other procedural, factual, or legal issues of interest to the Court.

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 1 DATED: December 13, 2019                          Respectfully submitted,

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